           Case 18-41363-elm7 Doc 14 Filed 05/02/18                                      Entered 05/02/18 16:18:21                          Page 1 of 53
 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS

 Case number (if known):       18-41363-13                    Chapter you are filing under:

                                                                       Chapter 7
                                                                       Chapter 11
                                                                       Chapter 12
                                                                                                                                Check if this is an
                                                                       Chapter 13
                                                                                                                                 amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                          About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Jerrel                                                   Jade
     government-issued picture
                                       First Name                                               First Name
     identification (for example,
     your driver's license or          Lloyd                                                    Ashley
     passport).                        Middle Name                                              Middle Name

                                       Kenemore                                                 Kenemore
     Bring your picture                Last Name                                                Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                               Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                               First Name
     years
                                       Middle Name                                              Middle Name
     Include your married or
     maiden names.
                                       Last Name                                                Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   1        7       4    0     xxx – xx –                   1         4        9      2
     number or federal                 OR                                                       OR
     Individual Taxpayer
     Identification number             9xx – xx –                                               9xx – xx –
     (ITIN)

4.   Any business names                      I have not used any business names or EINs.             I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in            Business name                                            Business name
     the last 8 years
                                       Business name                                            Business name
     Include trade names and
     doing business as names
                                       Business name                                            Business name




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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                          Case number (if known) 18-41363-13

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  1817 MarbleCove Ln
                                  Number       Street                                          Number      Street




                                  Denton                          TX       76210
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  Denton
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this                  Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.


                                         I have another reason. Explain.                            I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                              Chapter 7

                                        Chapter 11

                                        Chapter 12

                                        Chapter 13




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                  Case number (if known) 18-41363-13

8.   How you will pay the fee       I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                     court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                     pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                     behalf, your attorney may pay with a credit card or check with a pre-printed address.


                                    I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                     Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                    I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                     than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                     fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                     Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No
     bankruptcy within the
     last 8 years?                  Yes.

                                District Eastern District of Texas                     When 07/01/2013         Case number 13-41611
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY
                                District                                               When                    Case number
                                                                                              MM / DD / YYYY

10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
                                Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an           District                                               When                    Case number,
    affiliate?                                                                                MM / DD / YYYY   if known


                                Debtor                                                             Relationship to you

                                District                                               When                    Case number,
                                                                                              MM / DD / YYYY   if known

11. Do you rent your                No.    Go to line 12.
    residence?
                                    Yes. Has your landlord obtained an eviction judgment against you?

                                                No. Go to line 12.
                                                Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                 and file it as part of this bankruptcy petition.




Official Form 101                     Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                        Case number (if known) 18-41363-13


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor            No. Go to Part 4.
    of any full- or part-time
    business?
                                         Yes. Name and location of business


    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                         No.   I am not filing under Chapter 11.

    For a definition of small            No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any               No
    property that poses or is
    alleged to pose a threat of
                                         Yes. What is the hazard?

    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number     Street
    repairs?



                                                                           City                                     State         ZIP Code




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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                        Case number (if known) 18-41363-13


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a
    briefing about
                             I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                     filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.                certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
    briefing about credit    I received a briefing from an approved credit               I received a briefing from an approved credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,
    you are not eligible     I certify that I asked for credit counseling                I certify that I asked for credit counseling
                               services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                             I am not required to receive a briefing about               I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:

                                  Incapacity.    I have a mental illness or a mental          Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.

                                  Disability.    My physical disability causes me             Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.

                                  Active duty. I am currently on active military              Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                       Case number (if known) 18-41363-13


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?
                                         No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                         No
    are paid that funds will be
    available for distribution                      Yes

    to unsecured creditors?

18. How many creditors do                1-49                            1,000-5,000                          25,001-50,000
    you estimate that you
    owe?
                                         50-99                           5,001-10,000                         50,001-100,000
                                         100-199                         10,001-25,000                        More than 100,000
                                         200-999

19. How much do you                      $0-$50,000                      $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your assets to
    be worth?
                                         $50,001-$100,000                $10,000,001-$50 million              $1,000,000,001-$10 billion
                                         $100,001-$500,000               $50,000,001-$100 million             $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million            More than $50 billion

20. How much do you                      $0-$50,000                      $1,000,001-$10 million               $500,000,001-$1 billion
    estimate your liabilities to
    be?
                                         $50,001-$100,000                $10,000,001-$50 million              $1,000,000,001-$10 billion
                                         $100,001-$500,000               $50,000,001-$100 million             $10,000,000,001-$50 billion
                                         $500,001-$1 million             $100,000,001-$500 million            More than $50 billion

 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                   X /s/ Jerrel Lloyd Kenemore                                 X /s/ Jade Ashley Kenemore
                                       Jerrel Lloyd Kenemore, Debtor 1                            Jade Ashley Kenemore, Debtor 2

                                       Executed on 05/02/2018                                     Executed on 05/02/2018
                                                   MM / DD / YYYY                                             MM / DD / YYYY


Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
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Debtor 1     Jerrel Lloyd Kenemore
Debtor 2     Jade Ashley Kenemore                                                   Case number (if known) 18-41363-13

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ David Shuster                                                   Date 05/02/2018
                                     Signature of Attorney for Debtor                                      MM / DD / YYYY


                                     David Shuster
                                     Printed name
                                     Julian, Crowder & Shuster, P.C.
                                     Firm Name
                                     860 Hebron Pkwy
                                     Number         Street
                                     Suite 501




                                     Lewisville                                               TX              75057
                                     City                                                     State           ZIP Code


                                     Contact phone (972) 315-6222                   Email address shuster@jcstexaslaw.com


                                     24037491                                                 TX
                                     Bar number                                               State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                           page 7
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  Fill in this information to identify your case and this filing:
  Debtor 1               Jerrel                      Lloyd                 Kenemore
                         First Name                  Middle Name           Last Name

  Debtor 2            Jade                           Ashley                Kenemore
  (Spouse, if filing) First Name                     Middle Name           Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number            18-41363-13
  (if known)                                                                                                                    Check if this is an
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

           No. Go to Part 2.
           Yes. Where is the property?

1.1.                                                         What is the property?                         Do not deduct secured claims or exemptions. Put the
1817 MarbleCove Ln                                           Check all that apply.                         amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                                Single-family home
                                                                Duplex or multi-unit building             Current value of the            Current value of the
                                                                Condominium or cooperative                entire property?                portion you own?
Denton                           TX       76210                 Manufactured or mobile home                           $266,779.00                 $266,779.00
City                             State    ZIP Code
                                                                Land
                                                                Investment property                       Describe the nature of your ownership

Denton                                                          Timeshare                                 interest (such as fee simple, tenancy by the
                                                                                                           entireties, or a life estate), if known.
County                                                          Other

                                                             Who has an interest in the property?
                                                                                                           Homestead
                                                             Check one.

                                                                Debtor 1 only                                Check if this is community property
                                                                                                               (see instructions)
                                                                Debtor 2 only
                                                                Debtor 1 and Debtor 2 only
                                                                At least one of the debtors and another

                                                             Other information you wish to add about this item, such as local
                                                             property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................            $266,779.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes




Official Form 106A/B                                                     Schedule A/B: Property                                                            page 1
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Debtor 1         Jerrel Lloyd Kenemore
Debtor 2         Jade Ashley Kenemore                                                              Case number (if known)        18-41363-13

3.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Mazda                        Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                   3                               Debtor 1 only

Year:                    2011                            Debtor 2 only                           Current value of the                   Current value of the

Approximate mileage: 143,000
                                                         Debtor 1 and Debtor 2 only              entire property?                       portion you own?

                                                         At least one of the debtors and another             $3,150.00                             $3,150.00
Other information:
2011 Mazda 3 (approx. 143000 miles)                      Check if this is community property
                                                          (see instructions)
3.2.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Ford                         Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                   Mustang                         Debtor 1 only

Year:                    2007                            Debtor 2 only                           Current value of the                   Current value of the

Approximate mileage: 67,535
                                                         Debtor 1 and Debtor 2 only              entire property?                       portion you own?

                                                         At least one of the debtors and another             $5,550.00                             $5,550.00
Other information:
2007 Ford Mustang (approx. 67535                         Check if this is community property
miles)                                                    (see instructions)

3.3.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                    Dodge                        Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                   Truck                           Debtor 1 only

Year:                    2006                            Debtor 2 only                           Current value of the                   Current value of the

Approximate mileage: 100,000
                                                         Debtor 1 and Debtor 2 only              entire property?                       portion you own?

                                                         At least one of the debtors and another             $7,250.00                             $7,250.00
Other information:
2006 Dodge Truck (approx. 100000                         Check if this is community property
miles)                                                    (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
          Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.........................................................             $15,950.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware

          No
          Yes. Describe..... See continuation page(s).                                                                                             $3,100.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

          No
          Yes. Describe..... Electronics                                                                                                             $500.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

          No
          Yes. Describe..... Books/Movies/Collectibles                                                                                                $50.00




Official Form 106A/B                                                Schedule A/B: Property                                                               page 2
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Debtor 1         Jerrel Lloyd Kenemore
Debtor 2         Jade Ashley Kenemore                                                                                             Case number (if known)                   18-41363-13

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments

          No
          Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

          No
          Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

          No
          Yes. Describe..... Clothing                                                                                                                                                            $200.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

          No
          Yes. Describe..... Jewelry                                                                                                                                                             $500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

          No
          Yes. Describe..... Dogs (4), Cats (4)                                                                                                                                                    $10.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

          No
          Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                                         $4,360.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

          No
          Yes.................................................................................................................................... Cash: ..........................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

          No
          Yes............................                    Institution name:

             17.1.      Checking account:                     Checking account ending in 7017 at Capital One Bank                                                                                 $100.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          No
          Yes............................     Institution or issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 3
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Debtor 2         Jade Ashley Kenemore                                                                Case number (if known)      18-41363-13

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

          No
          Yes. Give specific
           information about
           them..........................     Name of entity:                                                      % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

          No
          Yes. Give specific
           information about
           them..........................     Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans

          No
          Yes. List each
           account separately.               Type of account:       Institution name:
                                             Retirement account:    Retirement account TX Co Dist                                                  $5,927.24
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

          No
          Yes............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
     No
     Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
          Yes............................    Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

          No
          Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                       page 4
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Debtor 1         Jerrel Lloyd Kenemore
Debtor 2         Jade Ashley Kenemore                                                                            Case number (if known)            18-41363-13

Money or property owed to you?                                                                                                                              Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you

          No
          Yes. Give specific information                                                                                                        Federal:
           about them, including whether
           you already filed the returns                                                                                                         State:
           and the tax years......................
                                                                                                                                                 Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

          No
          Yes. Give specific information                                                                                         Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                  Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                  Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

          No
          Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

          No
          Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:

                                                 Group Term Life Insurance through
                                                 employer                                                                                                                  $1.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

          No
          Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

          No
          Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

          No
          Yes. Describe each claim........

35. Any financial assets you did not already list

          No
          Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................               $6,028.24



Official Form 106A/B                                                         Schedule A/B: Property                                                                         page 5
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Debtor 1         Jerrel Lloyd Kenemore
Debtor 2         Jade Ashley Kenemore                                                                            Case number (if known)            18-41363-13


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

          No. Go to Part 6.
          Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

          No
          Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices

          No
          Yes. Describe..

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

          No
          Yes. Describe..

41. Inventory

          No
          Yes. Describe..

42. Interests in partnerships or joint ventures

          No
          Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

          No
          Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 No
                 Yes. Describe.....
44. Any business-related property you did not already list

          No
          Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................                   $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

          No. Go to Part 7.
          Yes. Go to line 47.




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
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Debtor 1         Jerrel Lloyd Kenemore
Debtor 2         Jade Ashley Kenemore                                                                            Case number (if known)            18-41363-13

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

          No
          Yes....

48. Crops--either growing or harvested

          No
          Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

          No
          Yes....

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes....

51. Any farm- and commercial fishing-related property you did not already list

          No
          Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                   $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
          Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                         $0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 7
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Debtor 1          Jerrel Lloyd Kenemore
Debtor 2          Jade Ashley Kenemore                                                                                      Case number (if known)                18-41363-13


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................               $266,779.00

56. Part 2: Total vehicles, line 5                                                                                 $15,950.00

57. Part 3: Total personal and household items, line 15                                                              $4,360.00

58. Part 4: Total financial assets, line 36                                                                          $6,028.24

59. Part 5: Total business-related property, line 45                                                                        $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                            $26,338.24             property total                  +        $26,338.24


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................           $293,117.24




Official Form 106A/B                                                                Schedule A/B: Property                                                                               page 8
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Debtor 1    Jerrel Lloyd Kenemore
Debtor 2    Jade Ashley Kenemore                                           Case number (if known)   18-41363-13


6.   Household goods and furnishings (details):

     Living room                                                                                                   $200.00

     Kitchen and Dining Room                                                                                      $2,000.00

     Bedroom 1                                                                                                     $200.00

     Bedroom 2                                                                                                     $100.00

     Bedroom 3                                                                                                     $100.00

     Portable Appliances                                                                                           $500.00




Official Form 106A/B                              Schedule A/B: Property                                              page 9
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 Fill in this information to identify your case:
 Debtor 1            Jerrel               Lloyd                  Kenemore
                     First Name           Middle Name            Last Name
 Debtor 2            Jade                 Ashley                 Kenemore
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                    Check if this is an
 Case number         18-41363-13                                                                                     amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

         You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $266,779.00                $143,304.00         Const. art. 16 §§ 50, 51, Texas
1817 MarbleCove Ln                                                               100% of fair market     Prop. Code §§ 41.001-.002
                                                                                  value, up to any
Line from Schedule A/B:       1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $3,150.00                 $3,150.00          Tex. Prop. Code §§ 42.001(a),
2011 Mazda 3 (approx. 143000 miles)                                              100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:       3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $5,550.00                 $5,550.00          Tex. Prop. Code §§ 42.001(a),
2007 Ford Mustang (approx. 67535 miles)                                          100% of fair market     42.002(a)(9)
                                                                                  value, up to any
Line from Schedule A/B:       3.2
                                                                                  applicable statutory
                                                                                  limit


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

         No
         Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           No
           Yes
Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Jerrel Lloyd Kenemore
Debtor 2      Jade Ashley Kenemore                                                   Case number (if known)   18-41363-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $7,250.00               $1,902.00          Tex. Prop. Code §§ 42.001(a),
2006 Dodge Truck (approx. 100000 miles)                                     100% of fair market    42.002(a)(9)
                                                                             value, up to any
Line from Schedule A/B:    3.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                                   Tex. Prop. Code §§ 42.001(a),
Living room                                                                 100% of fair market    42.002(a)(1) (Claimed: $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $2,000.00                                  Tex. Prop. Code §§ 42.001(a),
Kitchen and Dining Room                                                     100% of fair market    42.002(a)(1) (Claimed: $2,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $200.00                                   Tex. Prop. Code §§ 42.001(a),
Bedroom 1                                                                   100% of fair market    42.002(a)(1) (Claimed: $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                   Tex. Prop. Code §§ 42.001(a),
Bedroom 2                                                                   100% of fair market    42.002(a)(1) (Claimed: $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                   Tex. Prop. Code §§ 42.001(a),
Bedroom 3                                                                   100% of fair market    42.002(a)(1) (Claimed: $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                   Tex. Prop. Code §§ 42.001(a),
Portable Appliances                                                         100% of fair market    42.002(a)(1) (Claimed: $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
Electronics                                                                 100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $50.00                   $50.00           Tex. Prop. Code §§ 42.001(a),
Books/Movies/Collectibles                                                   100% of fair market    42.002(a)(1)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Jerrel Lloyd Kenemore
Debtor 2      Jade Ashley Kenemore                                                   Case number (if known)   18-41363-13

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                 $200.00           Tex. Prop. Code §§ 42.001(a),
Clothing                                                                    100% of fair market    42.002(a)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                 $500.00           Tex. Prop. Code §§ 42.001(a),
Jewelry                                                                     100% of fair market    42.002(a)(6)
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00                   $10.00           Tex. Prop. Code §§ 42.001(a),
Dogs (4), Cats (4)                                                          100% of fair market    42.002(a)(11)
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,927.24               $5,927.24          Tex. Prop. Code § 42.0021
Retirement account TX Co Dist                                               100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                   $1.00            Tex. Ins. Code §§ 1108.001,
Group Term Life Insurance through                                           100% of fair market    1108.051
employer                                                                     value, up to any
Line from Schedule A/B: 31                                                   applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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  Fill in this information to identify your case:
  Debtor 1             Jerrel                Lloyd                  Kenemore
                       First Name            Middle Name            Last Name

  Debtor 2            Jade                   Ashley                 Kenemore
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          18-41363-13
  (if known)                                                                                                          Check if this is an
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?

            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                               $5,348.00              $7,250.00
Santander Consumer USA                           2006 Dodge Truck
Creditor's name
5201 Rufe Snow Drive
Number       Street
Suite 400
                                                 As of the date you file, the claim is: Check all that apply.
                                                  Contingent
North Richland HilTX
City                     State
                                 76180
                                 ZIP Code
                                                  Unliquidated
                                                  Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                   Automobile
       to a community debt
Date debt was incurred           08/2014         Last 4 digits of account number        1     0    0    0




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                 $5,348.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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Debtor 1        Jerrel Lloyd Kenemore
Debtor 2        Jade Ashley Kenemore                                                      Case number (if known)      18-41363-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $123,475.00             $266,779.00
Seterus, Inc.                                 1817 MarbleCove Ln
Creditor's name
Attn: Bankruptcy
Number      Street
PO Box 1077
                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Hartford
City
                        CT
                        State
                                06143
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Conventional Real Estate Mortgage
       to a community debt
Date debt was incurred          10/2001       Last 4 digits of account number        1     3    1    8

  2.3                                         Describe the property that
                                              secures the claim:                               $8,875.00              $8,875.00
Seterus, Inc.
Creditor's name
                                              1817 MarbleCove Ln
Attn: Bankruptcy
Number      Street
PO Box 1077
                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Hartford
City
                        CT
                        State
                                06143
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number        1     3    1    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $132,350.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2
             Case 18-41363-elm7 Doc 14 Filed 05/02/18                            Entered 05/02/18 16:18:21                    Page 22 of 53
Debtor 1        Jerrel Lloyd Kenemore
Debtor 2        Jade Ashley Kenemore                                                      Case number (if known)      18-41363-13

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $2,626.00              $2,626.00
Seterus, Inc.                                 1817 MarbleCove Ln
Creditor's name
Attn: Bankruptcy
Number      Street
PO Box 1077
                                              As of the date you file, the claim is: Check all that apply.
                                               Contingent
Hartford
City
                        CT
                        State
                                06143
                                ZIP Code
                                               Unliquidated
                                               Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
 Debtor 1 only                            An agreement you made (such as mortgage or secured car loan)
 Debtor 2 only                            Statutory lien (such as tax lien, mechanic's lien)
 Debtor 1 and Debtor 2 only               Judgment lien from a lawsuit
 At least one of the debtors and another  Other (including a right to offset)
      Check if this claim relates                Arrearage claim
       to a community debt
Date debt was incurred          Various       Last 4 digits of account number        1     3    1    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $2,626.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $140,324.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                    Case number (if known)    18-41363-13

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        Barrett Daffin Frappier Turner & Engel                                 On which line in Part 1 did you enter the creditor?      2.4
        Name
        15000 Surveyor Boulevard                                               Last 4 digits of account number
        Number       Street
        Suite 100


        Addison                                  TX      75001
        City                                     State   ZIP Code

  2
        Barrett Daffin Frappier Turner & Engel                                 On which line in Part 1 did you enter the creditor?      2.3
        Name
        15000 Surveyor Boulevard                                               Last 4 digits of account number
        Number       Street
        Suite 100



        Addison                                  TX      75001
        City                                     State   ZIP Code

  3
        Barrett Daffin Frappier Turner & Engel                                 On which line in Part 1 did you enter the creditor?      2.2
        Name
        15000 Surveyor Boulevard                                               Last 4 digits of account number
        Number       Street
        Suite 100



        Addison                                  TX      75001
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page 4
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  Fill in this information to identify your case:
  Debtor 1             Jerrel                Lloyd                  Kenemore
                       First Name            Middle Name            Last Name

  Debtor 2            Jade                   Ashley                 Kenemore
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number          18-41363-13
  (if known)                                                                                                           Check if this is an
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $1,780.00           $1,780.00                $0.00
Julian, Crowder & Shuster, P.C.
Priority Creditor's Name                                   Last 4 digits of account number
860 Hebron Parkway                                         When was the debt incurred?          03/29/2018
Number       Street
Suite 501                                                  As of the date you file, the claim is: Check all that apply.
                                                            Contingent
Lewisville                      TX      75057               Unliquidated
City                            State   ZIP Code            Disputed
Who incurred the debt?     Check one.                      Type of PRIORITY unsecured claim:
 Debtor 1 only                                             Domestic support obligations
 Debtor 2 only                                             Taxes and certain other debts you owe the government
 Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
 At least one of the debtors and another                     intoxicated
    Check if this claim is for a community debt
                                                            Other. Specify
Is the claim subject to offset?                                Attorney fees for this case
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                             Case number (if known)      18-41363-13

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                              $40.00
Affiliated Pathologists, PA                                 Last 4 digits of account number         7     7    4    1
Nonpriority Creditor's Name
                                                            When was the debt incurred?
520 E. 22nd St
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
Lombard                         IL      60148-6110
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
  Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Medical Charges
Is the claim subject to offset?
 No
 Yes
     4.2                                                                                                                                        $52,488.09
Air Evac Lifeteam                                           Last 4 digits of account number         7     2    2    A
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 106
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
West Plains                     MO      65775
                                                             Disputed
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                             Student loans
 Debtor 1 only                                              Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                                that you did not report as priority claims
 Debtor 1 and Debtor 2 only                                 Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                    Other. Specify
      Check if this claim is for a community debt               Medical Charges
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.3                                                                                                                                       $0.00
American Medical Collection Agency                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4 Westchester Plaza
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 110                                                 Contingent
                                                          Unliquidated
Elmsford                      NY      10523
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
   4.4                                                                                                                                     $117.25
American Medical Collection Agency                       Last 4 digits of account number       3    1    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
4 Westchester Plaza
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 110                                                 Contingent
                                                          Unliquidated
Elmsford                      NY      10523
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - Clinical Pathology Labs
Is the claim subject to offset?
 No
 Yes
   4.5                                                                                                                                     $490.00
Chase Card Services                                      Last 4 digits of account number       6    5    7    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2007
Correspondence Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 15298                                              Contingent
                                                          Unliquidated
Wilmington                    DE      19850
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 3
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.6                                                                                                                                      $79.00
Clinical Pathology Laboratories Inc                      Last 4 digits of account number       8    1    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 141669
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Austin                        TX      78714-1669
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
   4.7                                                                                                                                     $297.55
CMRE Financial Services, Inc.                            Last 4 digits of account number       9    7    5    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
3075 E. Imperial Highway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 200                                                 Contingent
                                                          Unliquidated
Brea                          CA      92821-6753
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - Texas Radiology Associates
Is the claim subject to offset?
 No
 Yes
   4.8                                                                                                                                   $2,678.00
Convergent Outsourcing, Inc                              Last 4 digits of account number       4    4    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2016
PO Box 9004
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Renton                        WA      98057
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 4
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

   4.9                                                                                                                                     $716.80
Denton Regional Medical Center                           Last 4 digits of account number       1    6    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 740782
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Cincinnati                    OH      45274-0782
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.10                                                                                                                                 $12,991.00
Discover Financial                                       Last 4 digits of account number       8    9    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/1992
PO Box 3025
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
New Albany                    OH      43054
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
  4.11                                                                                                                                     $731.00
ERC/Enhanced Recovery Corp                               Last 4 digits of account number       2    5    5    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
8014 Bayberry Rd                                          Contingent
                                                          Unliquidated
Jacksonville                  FL      32256
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 5
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.12                                                                                                                                     $300.00
Financial Control Services                               Last 4 digits of account number       2    0    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2013
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 21626                                              Contingent
                                                          Unliquidated
Waco                          TX      76702
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes
  4.13                                                                                                                                     $817.00
First Investors Financial Services                       Last 4 digits of account number       0    0    0    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/01/2007
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
380 Interstate North Parkway, Suite 300                   Contingent
                                                          Unliquidated
Atlanta                       GA      30399
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Automobile
Is the claim subject to offset?
 No
 Yes
  4.14                                                                                                                                   $1,047.00
I C System Inc                                           Last 4 digits of account number       3    1    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2016
444 Highway 96 East
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 64378                                            Contingent
                                                          Unliquidated
St. Paul                      MN      55164
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.15                                                                                                                                   $1,632.00
Jefferson Capital Systems, LLC                           Last 4 digits of account number       7    0    0    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2013
PO Box 7999
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Saint Cloud                   MN      56302
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
 No
 Yes
  4.16                                                                                                                                     $513.00
Kohls/Capital One                                        Last 4 digits of account number       1    6    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2008
Kohls Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 3120                                               Contingent
                                                          Unliquidated
Milwaukee                     WI      53201
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
 No
 Yes
  4.17                                                                                                                                     $549.00
LabCorp                                                  Last 4 digits of account number       0    0    2    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2240
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Burlington                    NC      27216-2240
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.18                                                                                                                                      $70.40
MD Pathology                                             Last 4 digits of account number       0    0    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 671002
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75267-1002
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.19                                                                                                                                     $248.00
Medical Imaging of Dallas                                Last 4 digits of account number       3    3    1    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 814129
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75381-4129
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.20                                                                                                                                      $35.00
Nightrays PA                                             Last 4 digits of account number       0    4    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 371863
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15250-7863
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
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                                                                                                                                      Total claim
previous page.

  4.21                                                                                                                                     $397.00
Nightrays PA                                             Last 4 digits of account number       9    8    0    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 371863
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15250-7863
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.22                                                                                                                                     $590.00
Nightrays PA                                             Last 4 digits of account number       0    0    4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 371863
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15250-7863
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.23                                                                                                                                      $79.00
Nightrays PA                                             Last 4 digits of account number       0    4    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 371863
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15250-7863
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.24                                                                                                                                      $44.00
Nightrays PA                                             Last 4 digits of account number       0    4    0    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 371863
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Pittsburgh                    PA      15250-7863
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.25                                                                                                                                 $61,762.00
Paragon Revenue Group                                    Last 4 digits of account number       5    9    6    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
216 Le Phillip Ct NE                                      Contingent
                                                          Unliquidated
Concord                       NC      28025
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes
  4.26                                                                                                                                     $102.00
Paragon Revenue Group                                    Last 4 digits of account number       5    7    9    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
216 Le Phillip Ct NE                                      Contingent
                                                          Unliquidated
Concord                       NC      28025
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.27                                                                                                                                      $62.00
Paragon Revenue Group                                    Last 4 digits of account number       1    7    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
216 Le Phillip Ct NE                                      Contingent
                                                          Unliquidated
Concord                       NC      28025
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes
  4.28                                                                                                                                   $2,202.73
Parkland Health and Hospital System                      Last 4 digits of account number       1    2    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
5200 Harry Hines Blvd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75235
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.29                                                                                                                                     $344.00
PathAdvantage Assoiciated                                Last 4 digits of account number       5    9    8    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 224138
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75222-4138
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


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Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.30                                                                                                                                     $300.00
PMAB, LLC                                                Last 4 digits of account number       1    4    4    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/2017
PO Box 12150
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Charlotte                     NC      28220
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes
  4.31                                                                                                                                     $540.00
Portfolio Recovery                                       Last 4 digits of account number       1    3    8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/19/2015
PO Box 41067
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Norfolk                       VA      23541
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
 No
 Yes
  4.32                                                                                                                                     $345.00
Portfolio Recovery                                       Last 4 digits of account number       8    7    9    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2013
PO Box 41067
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Norfolk                       VA      23541
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Factoring Company Account
Is the claim subject to offset?
 No
 Yes


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Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.33                                                                                                                                     $447.05
Professional Finance Company                             Last 4 digits of account number       7    9    0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1686                                               Contingent
                                                          Unliquidated
Greeley                       CO      80632-1686
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collecting for - Touchstone Flower Mound
Is the claim subject to offset?
 No
 Yes
  4.34                                                                                                                                     $307.00
Professional Finance Company, Inc.                       Last 4 digits of account number       5    0    6    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/2015
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1686                                               Contingent
                                                          Unliquidated
Greeley                       CO      80632
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
 No
 Yes
  4.35                                                                                                                                     $308.36
Questcare Medical Services PA                            Last 4 digits of account number       7    7    4    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 201611
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75320-1611
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.36                                                                                                                                     $889.88
Southwest Laboratory                                     Last 4 digits of account number       8    4    0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
625 Dallas Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Suite 400                                                 Contingent
                                                          Unliquidated
Denton                        TX      76205-7289
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.37                                                                                                                                     $314.00
Target                                                   Last 4 digits of account number       9    3    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/1995
Target Card Services
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Mail Stop NCB-0461                                        Contingent
                                                          Unliquidated
Minneapolis                   MN      55440
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
 No
 Yes
  4.38                                                                                                                                 $10,459.96
Texas Health Presbyterian                                Last 4 digits of account number       0    0    3    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Hospital Flower Mound
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 677300                                             Contingent
                                                          Unliquidated
Dallas                        TX      75267-7300
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 14
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.39                                                                                                                                     $249.50
Timothy A. Beste MD                                      Last 4 digits of account number       4    3    6    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
800 South Stemmons
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Lewisville                    TX      75067-5300
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.40                                                                                                                                     $888.10
Travis County Emergency Physicians                       Last 4 digits of account number       6    3    8    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Attn: 21906K
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 14000                                              Contingent
                                                          Unliquidated
Belfast                       ME      04915-4033
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.41                                                                                                                                   $2,262.00
UT Southwestern Medical Center                           Last 4 digits of account number       2    8    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/31/16
PO Box 848009
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75284-8009
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 15
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.42                                                                                                                                   $6,647.00
UT Southwestern Medical Center                           Last 4 digits of account number       2    8    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/31/16
PO Box 848009
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Dallas                        TX      75284-8009
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.43                                                                                                                                   $1,050.00
Vernon Fire EMS Depa                                     Last 4 digits of account number       4    8    3    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 450
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Mansfield                     TX      76063
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.44                                                                                                                                     $890.00
Vernon Fire EMS Depa                                     Last 4 digits of account number       5    0    8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/31/16
PO Box 450
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Mansfield                     TX      76063
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 16
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.45                                                                                                                                     $281.80
Western Trail Emerg Physicians                           Last 4 digits of account number       9    1    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 98612
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Las Vegas                     NV      89193-8612
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.46                                                                                                                                   $5,570.40
Wilbarger General Hospital                               Last 4 digits of account number       4    3    6    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
920 Hillcrest Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Vernon                        TX      76384
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                           Student loans
  Debtor 1 only
                                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes
  4.47                                                                                                                                   $8,227.27
Wilbarger General Hospital                               Last 4 digits of account number       4    3    6    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?
920 Hillcrest Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Vernon                        TX      76384
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
 Debtor 1 only                                           Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 17
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)       18-41363-13

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                      Total claim
previous page.

  4.48                                                                                                                                     $855.42
Wilbarger General Hospital                               Last 4 digits of account number       4    3    6    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?
920 Hillcrest Drive
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Vernon                        TX      76384
                                                          Disputed
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?     Check one.
                                                          Student loans
  Debtor 1 only
                                                          Obligations arising out of a separation agreement or divorce
 Debtor 2 only                                             that you did not report as priority claims
 Debtor 1 and Debtor 2 only                              Debts to pension or profit-sharing plans, and other similar debts
 At least one of the debtors and another                 Other. Specify
      Check if this claim is for a community debt           Medical Charges
Is the claim subject to offset?
 No
 Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                          page 18
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                        Case number (if known)    18-41363-13

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Alegis Revenue Group, LLC                                   On which entry in Part 1 or Part 2 did you list the original creditor?
Name
25227 Grogans Mill Rd
Number       Street
                                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims

                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number
The Woodlands                   TX      77380
City                            State   ZIP Code


Wakefield & Associates                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Attn: Bankruptcy
Number       Street
                                                            Line         of (Check one):       Part 1: Creditors with Priority Unsecured Claims
                                                            Collection Attorney
PO Box 441590                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims


                                                            Last 4 digits of account number       0    D    X    0
Aurora                          CO      80044
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 19
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Debtor 1       Jerrel Lloyd Kenemore
Debtor 2       Jade Ashley Kenemore                                                    Case number (if known)        18-41363-13

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $1,780.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.              $1,780.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $182,255.56


                  6j.   Total.   Add lines 6f through 6i.                                            6j.            $182,255.56




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 20
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 Fill in this information to identify your case:
 Debtor 1            Jerrel               Lloyd                  Kenemore
                     First Name           Middle Name            Last Name

 Debtor 2            Jade                 Ashley                 Kenemore
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         18-41363-13
 (if known)                                                                                                        Check if this is an
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1             Jerrel                 Lloyd                       Kenemore
                      First Name             Middle Name                 Last Name

 Debtor 2            Jade                    Ashley                      Kenemore
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          18-41363-13
 (if known)                                                                                                              Check if this is an
                                                                                                                          amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Jade Ashley Kenemore
               Name of your spouse, former spouse, or legal equivalent
               1817 MarbleCove Ln
               Number        Street


               Denton                                          TX              76210
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Jerrel               Lloyd                  Kenemore
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Jade                 Ashley                 Kenemore
     (Spouse, if filing)   First Name           Middle Name            Last Name                               An amended filing

     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF TEXAS                                      A supplement showing postpetition
                                                                                                                chapter 13 income as of the following date:
     Case number           18-41363-13
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status            Employed                                          Employed
      with information about                                         Not employed                                      Not employed
      additional employers.
                                        Occupation             Senior Software Engineer                           District Clerk
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Freedom Truck Finance                              Denton County

      Occupation may include            Employer's address     12221 Merit Drive                                  1450 E. McKinney St
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Dallas                       TX      75251         Denton                  TX      76210
                                                               City                         State   Zip Code      City                    State   Zip Code

                                        How long employed there?        2 weeks                                           2.5 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.               $10,000.00               $2,828.45
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.            $10,000.00               $2,828.45




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
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Debtor 1        Jerrel Lloyd Kenemore
Debtor 2        Jade Ashley Kenemore                                                                                         Case number (if known)    18-41363-13
                                                                                                                    For Debtor 1         For Debtor 2 or
                                                                                                                                         non-filing spouse
     Copy line 4 here .................................................................................    4.         $10,000.00            $2,828.45
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.         $1,802.16              $602.12
     5b. Mandatory contributions for retirement plans                                                       5b.             $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.             $0.00              $197.99
     5d. Required repayments of retirement fund loans                                                       5d.             $0.00                $0.00
     5e. Insurance                                                                                          5e.             $0.00              $648.22
     5f. Domestic support obligations                                                                       5f.             $0.00                $0.00
     5g. Union dues                                                                                         5g.             $0.00                $0.00
     5h. Other deductions.
          Specify: Life Insurance                                                                           5h. +           $0.00               $24.37
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                  6.          $1,802.16            $1,472.70
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.          7.          $8,197.84            $1,355.75
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.             $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                             8b.             $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.             $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.             $0.00                 $0.00
     8e. Social Security                                                                                    8e.             $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.             $0.00                 $0.00
     8g. Pension or retirement income                                                                       8g.             $0.00                 $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +           $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.              $0.00                 $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                          10.         $8,197.84    +       $1,355.75       =       $9,553.59
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                         11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                         12.            $9,553.59
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                               Combined
                                                                                                                                                                 monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.             None.
           Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                               page 2
             Case 18-41363-elm7 Doc 14 Filed 05/02/18                                Entered 05/02/18 16:18:21                    Page 48 of 53
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1              Jerrel
                           First Name
                                                  Lloyd
                                                  Middle Name
                                                                         Kenemore
                                                                         Last Name
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2              Jade                   Ashley                 Kenemore
     (Spouse, if filing)   First Name             Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF TEXAS                                    MM / DD / YYYY
     Case number           18-41363-13
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                 No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                 No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.
                                                                                  Daughter                           18                  No

      Do not state the dependents'
                                                                                                                                         Yes

      names.                                                                      Son                                20                  No
                                                                                                                                         Yes

                                                                                  Son                                25                  No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes

                                                                                                                                         No
                                                                                                                                         Yes
3.    Do your expenses include                       No
      expenses of people other than
      yourself and your dependents?
                                                     Yes



 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.

      4c. Home maintenance, repair, and upkeep expenses                                                             4c.                    $275.00
      4d. Homeowner's association or condominium dues                                                               4d.                     $21.00




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
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Debtor 1      Jerrel Lloyd Kenemore
Debtor 2      Jade Ashley Kenemore                                                      Case number (if known)   18-41363-13
                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                    $300.00
     6b. Water, sewer, garbage collection                                                            6b.                    $200.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $454.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $1,175.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                     $225.00
10. Personal care products and services                                                              10.                    $230.00
11. Medical and dental expenses                                                                      11.                    $520.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                    $475.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                           15a.

     15b.   Health insurance                                                                         15b.                   $450.00
     15c.   Vehicle insurance                                                                        15c.                   $467.75
     15d.   Other insurance. Specify:                                                                15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Estimated Addl W/H Tax                                                                  16.                    $753.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    Dodge Truck                                                17a.                   $232.00
     17b.   Car payments for Vehicle 2                                                               17b.

     17c.   Other. Specify:                                                                          17c.

     17d.   Other. Specify:                                                                          17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify: Support of Widowed Sister                                                               19.                    $600.00
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.   Mortgages on other property                                                              20a.

     20b.   Real estate taxes                                                                        20b.

     20c.   Property, homeowner's, or renter's insurance                                             20c.

     20d.   Maintenance, repair, and upkeep expenses                                                 20d.

     20e.   Homeowner's association or condominium dues                                              20e.



 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
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Debtor 1      Jerrel Lloyd Kenemore
Debtor 2      Jade Ashley Kenemore                                                             Case number (if known)   18-41363-13
21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.               $6,377.75
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.               $6,377.75

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $9,553.59
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –           $6,377.75
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.               $3,175.84

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
          Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                 page 3
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 Fill in this information to identify your case:
 Debtor 1               Jerrel                       Lloyd                       Kenemore
                        First Name                   Middle Name                 Last Name

 Debtor 2            Jade                            Ashley                      Kenemore
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number            18-41363-13
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................         $266,779.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................                $26,338.24


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................         $293,117.24


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                           $140,324.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                  $1,780.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                  $182,255.56



                                                                                                                             Your total liabilities                    $324,359.56




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $9,553.59

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $6,377.75




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
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Debtor 1      Jerrel Lloyd Kenemore
Debtor 2      Jade Ashley Kenemore                                                         Case number (if known)     18-41363-13


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes


7.   What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,893.09


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
            Case 18-41363-elm7 Doc 14 Filed 05/02/18                        Entered 05/02/18 16:18:21                  Page 53 of 53
 Fill in this information to identify your case:
 Debtor 1           Jerrel                Lloyd              Kenemore
                    First Name            Middle Name        Last Name

 Debtor 2            Jade                 Ashley             Kenemore
 (Spouse, if filing) First Name           Middle Name        Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number        18-41363-13
 (if known)                                                                                                 Check if this is an
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Jerrel Lloyd Kenemore                             X /s/ Jade Ashley Kenemore
        Jerrel Lloyd Kenemore, Debtor 1                        Jade Ashley Kenemore, Debtor 2

        Date 05/02/2018                                        Date 05/02/2018
             MM / DD / YYYY                                         MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                       page 1
